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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


  Case No. 1:21-cv-03043-RM-STV

  SHELLEY LEVINE, et al.,

                                  Plaintiffs,

  v.

  THE PALESTINE LIBERATION ORGANIZATION
  and THE PALESTINIAN AUTHORITY (a/k/a “The
  Palestinian Interim Self-Government Authority” and/or
  “The Palestinian
  National Authority”),

                                  Defendants.


               DECLARATION OF ASHER PERLIN IN SUPPORT OF
   PLAINTIFFS‘OPPOSITION TO DEFENDANTS‘ MOTION TO DISMISS PLAINTIFFS‘
      FIRST AMENDED COMPLAINT UNDER RULE 12(b)(2) AND RULE 12(b)(6)



  Pursuant to 28 U.S.C. § 1746 Asher Perlin declares as follows:

       1. I am co-lead counsel for Plaintiffs in this matter and submit this declaration in support of

  the Plaintiffs’ Opposition to Defendants’ Motion to Dismiss Plaintiffs’ First Amended Complaint

  Under Rule 12(b)(2) and Rule 12(b)(6).

       2. I am over 18 years of age.

       3. Exhibit A hereto is a true and accurate copy of the Memorandum Opinion prepared by the

  DOJ Office of Legal Counsel, Mutual Consent Provisions in the Guam Commonwealth

  Legislation: Memorandum Opinion for the Special Representative for Guam Commonwealth (July

  28, 1994), also available at:




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     https://www.justice.gov/sites/default/files/olc/opinions/attachments/2014/11/10/1994-07-28-

     guam-mutual-consent.pdf.

     4. Exhibit B hereto is a true and accurate copy of Report by the President’s Task Force on

  Puerto Rico’s Status, App. E (Dec. 2007) (Letter from Robert Raben, Assistant Attorney General),

  also available at: https://www.justice.gov/archive/opa/docs/2007-report-by-the-president-task-

  force-on-puerto-rico-status.pdf.

     5. Exhibit C hereto is a true and accurate copy of United States’ Motion for Partial Dismissal

  filed in Puerto Rico Pub. Hous. Admin. v. U.S. Dep’t of Hous. & Urban Dev., No. 96-1304 (D.P.R.

  1996).

     6. Exhibit D hereto is a true and accurate copy of the Brief for the U.S. filed in Palestine Info.

  Office v. Schultz, No. 87-5396 (D.C. Cir. 1988).

     7. Exhibit E hereto is a true and accurate copy of the Opinion prepared by the DOJ Office of

  Legal Counsel, Constitutionality of Closing the Palestine Information Office, an Affiliate of the

  Palestine Liberation Organization, 11 Op. O.L.C. 104 (1987), also available at:

  https://www.justice.gov/sites/default/files/olc/opinions/1987/08/31/op-olc-v011-p0104_0.pdf.

     8. Exhibit F hereto is a true and accurate copy of the D.C. Circuit’s unpublished ruling in

  Toumazou v. Turkish Republic of Northern Cyprus, No. 14-7170 (D.C. Cir. Jan. 15, 2016).

     9. Exhibit G hereto is a true and accurate copy of Plaintiff’s Opposition and Memorandum of

  Points and Authorities in Support of Plaintiffs’ Opposition to Defendant’s Motion to Dismiss, ECF

  No. 20, Toumazou v. Turkish Republic of Northern Cyprus, No. 1:09-cv-01967 (D.D.C.).

     10. Exhibit H hereto is a true and accurate copy of the Brief of Appellants, Toumazou v. Turkish

  Republic of Northern Cyprus, No. 14-7170 (D.C. Cir.).




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     11. Exhibit I hereto is a true and accurate copy of the August 9, 2012 Hearing Transcript from

  Sokolow v. PLO, 04-cv-397 (S.D.N.Y.).

     12. Exhibit J hereto is a true and accurate copy of the Declaration of Kent Yalowitz in Support

  of Plaintiffs’ Motion for Summary Judgment on Defendants’ Fourth Affirmative Defense, DE 490,

  including, as Exhibit B, thereto, which is an “excerpted copy of Defendants’ Objections and

  Responses to the [Fifth] Set of Interrogatories From All Plaintiffs (To The Goldberg Plaintiffs),

  dated December 21, 2012, DE 490-3, Sokolow v. PLO, 04-cv-397 (S.D.N.Y.).

     13. Exhibit K hereto is a true and accurate copy of the Bates numbered documents referred to

  in, and served with, Defendants’ Objections and Responses to the [Fifth] Set of Interrogatories

  From All Plaintiffs (To The Goldberg Plaintiffs), dated December 21, 2012, DE 490-3, Sokolow

  v. PLO, 04-cv-397 (S.D.N.Y.).

  I declare under the penalty of perjury under the laws of the United States that the foregoing is true

  and correct.

  September 19, 2022


                                                 /s/ Asher Perlin




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